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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Jennifer Lynn Brightwell, a/k/a Jennifer       )
Lynn Norcutt,                                  )       Case No. 1:15-cr-156
                                               )
               Defendant.                      )


       On April 4, 2017, defendant appeared in the District of Arizona before Magistrate Judge

Michelle H. Burns on a petition filed in the above-entitled action for revocation of her pretrial

release. She was ordered detained pending an identity hearing, which she later waived, and pretrial

release revocation hearing. On April 10, 2017, she appeared before Judge Bridget S. Bade, who

ordered her detained pending transport to North Dakota for a pretrial release violation hearing. Later

that same day she appeared before Chief Judge Hovland via video entered a guilty to the offense

charged in Count Three of the Indictment. Her sentencing hearing is currently scheduled for July

24, 2017, at 9:00 a.m. before Chief Judge Hovland.

       On May 31, 2017, the parties filed a "Stipulation to Modify Detention Order and Conditions

of Pretrial Release." Therein they stated that defendant is to the conditional release of defendant

to residential reentry center in either Bismarck or Mandan, North Dakota, once space becomes

available.

       Pursuant to the parties' stipulation, the court shall place defendant on the waiting list for a

residential facility placement. The court may, by separate order, conditionally release defendant to

a residential facility when space becomes available. In the interim, defendant shall remain in

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custody.

       IT IS SO ORDERED.

       Dated this 1st day of June, 2017.


                                                 /s/ Charles S. Miller, Jr.
                                                 Charles S. Miller, Jr., Magistrate Judge
                                                 United States District Court




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